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8                         UNITED STATES DISTRICT COURT

9                        EASTERN DISTRICT OF CALIFORNIA

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12   UNITED STATES OF AMERICA,            CR. NO. 2:10-507 WBS

13                Plaintiff,
                                          ORDER RE: MOTION TO REDUCE
14        v.                              SENTENCE PURSUANT TO 18 U.S.C.
15   ALVINO SALMERON,                     § 3582(c)(2)

16                Defendant.

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20             Before the court is defendant Alvino Salmeron’s Motion

21   to Reduce Sentence pursuant to 18 U.S.C. § 3582(c)(2) based upon

22   Amendment 782 to the United States Sentencing Guidelines

23   (“U.S.S.G.”).   (Docket No. 90.)     For the reasons explained below,

24   defendant does not qualify for a sentence reduction, and the

25   court must therefore deny the motion.

26             On December 18, 2012, defendant pleaded guilty to

27   Counts One and Thirteen of the Indictment.        (Docket No. 60.)

28   Count One charged him with distributing at least fifty grams of
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1    methamphetamine (actual) in violation of 21 U.S.C. § 841(a)(1),

2    and Count Thirteen charged him with possessing an unregistered

3    firearm in violation of 26 U.S.C. § 5861(d).         (Docket No. 84.)

4    The court held a sentencing hearing on October 7, 2014.           (Docket

5    Nos. 83, 89.)

6                Section 2D1.1 of the U.S.S.G.1 governed the guideline

7    for Count One, and § 2K2.1 governed the guideline for Count

8    Thirteen.    The court grouped both Counts together to determine

9    defendant’s offense level because defendant’s possession of a

10   firearm was a specific offense characteristic in, and an

11   enhancement to, the guideline applicable to the drug offense.

12   See § 3D1.2(c) (requiring that multiple counts be grouped

13   together “[w]hen one of the counts embodies conduct that is

14   treated as a specific offense characteristic in, or other

15   adjustment to, the guideline applicable to another of the

16   counts”); § 2D1.1(b)(1) (providing that possession of a firearm

17   is a specific offense characteristic under § 2D1.1 that requires

18   a two-level increase to the base offense level).

19               To determine the offense level, the court applied “the

20   highest offense level of the counts in the Group” pursuant to
21   § 3D1.3(a).     The court calculated and compared each Count’s

22   offense level “after all adjustments from Parts A, B, and C of

23   Chapter Three.”     § 3D1.3 cmt. n.1; see also § 3D1.3 cmt. n.2

24   (stating that the court is not required to make a formal

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26             Unless otherwise noted, all further citations are to
     the 2013 United States Sentencing Commission Guidelines Manual,
27   which was the manual that was in effect on the date that
     defendant was sentenced. § 1B1.11(a); see United States v.
28   Grissom, 525 F.3d 691, 697 n.3 (9th Cir. 2008).
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1    determination of each count’s offense level).         Defendant here was

2    found to have sold approximately 450.2 grams of methamphetamine

3    (actual).     (Presentence Report (“PSR”) ¶ 5.)      For Count One,

4    defendant’s base offense level was thirty-four pursuant to

5    § 2D1.1’s Drug Quantity Table.      See § 2D1.1(c)(3).      After

6    applying a two-level increase under § 2D1.1(b)(1) for possessing

7    a firearm, defendant’s resulting offense level for Count One was

8    thirty-six.

9                For Count Thirteen, defendant’s base offense level was

10   twenty pursuant to § 2K2.1(a)(4)(B) because defendant had sold

11   firearms that were described in 26 U.S.C. § 5845(a) and because

12   he had one prior felony conviction.       (PSR ¶ 11.)    After applying

13   a six-level increase under § 2K2.1(b)(1)(C) for selling twenty-

14   six firearms and a four-level increase under § 2K2.1(b)(4)(B) for

15   selling a firearm with an obliterated serial number, defendant’s

16   offense level was thirty.     (PSR ¶¶ 12-13.)     Because the

17   cumulative offense level from the application of § 2K2.1(b)(1)

18   through (b)(4) could not exceed twenty-nine, the offense level

19   was adjusted to twenty-nine.      See § 2K2.1(b)(4).     After then

20   applying a four-level increase under § 2K2.1(b)(5) for firearms
21   trafficking and a four-level increase under § 2K2.1(b)(6)(B) for

22   possessing a firearm in connection with a drug offense,

23   defendant’s resulting offense level for Count Thirteen was

24   thirty-seven.

25               The court used Count Thirteen’s offense level to

26   calculate defendant’s sentence because it was “the highest
27   offense level of the counts in the Group.”        § 3D1.3(a).     Section

28   2D1.1, the guideline for Count One, was therefore not used to
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1    calculate defendant’s sentence.      The court then applied a three-

2    level reduction under § 3E1.1 for acceptance of responsibility,

3    resulting in a total offense level of thirty-four.          (See PSR

4    ¶¶ 19-20.)   Based on a criminal history category of I,

5    defendant’s guideline range was 151 to 188 months.          (PSR ¶¶ 27-

6    28, 48.)   After considering the 18 U.S.C. § 3553(a) factors,

7    including the nature and circumstances of the offense and the

8    history and characteristics of the defendant pursuant to 18

9    U.S.C. § 3553(a)(1), the court imposed a sentence of 144 months,

10   slightly below the guideline range.       (Sentencing Hearing at

11   19:10-23 (Docket No. 89).)

12              On April 16, 2015, defendant filed a pro se motion to

13   reduce his sentence pursuant to 18 U.S.C. § 3582(c)(2) in light

14   of the Sentencing Commission’s passage of Amendment 782.           That

15   amendment retroactively modifies § 2D1.1’s Drug Quantity Table

16   and reduces by two points the base offense level for most federal

17   drug offenses.    See U.S.S.G. App. C, Amend. 782 (2014).         The

18   court appointed counsel for defendant, and defendant subsequently

19   notified the court of his election not to amend his original

20   motion.    (Docket No. 97.)
21              To grant a motion under 18 U.S.C. § 3582(c)(2), the

22   “court must first determine that a reduction is consistent with

23   § 1B1.10.”   Dillon v. United States, 560 U.S. 817, 826-27 (2010).

24   “[A] reduction in the defendant’s term of imprisonment is not

25   authorized under 18 U.S.C. § 3582(c)(2) and is not consistent

26   with [§ 1B1.10] if” the amendment “is applicable to the defendant
27   but . . . does not have the effect of lowering the defendant’s

28   applicable guideline range because of the operation of another
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1    guideline.”     § 1B1.10 cmt. n.1(A).

2              Applying Amendment 782 here would reduce the offense

3    level for Count One to thirty-four, which would not lower

4    defendant’s guideline range because Count One’s offense level

5    would still be lower than Count Thirteen’s offense level of

6    thirty-seven.    Defendant’s sentence would thus still be based

7    upon § 2K2.1, and not § 2D1.1.      See United States v. Gutierrez-

8    Sanchez, 587 F.3d 904, 908 (9th Cir. 2009) (“The court’s action

9    was in accord with the ‘grouping’ provisions of the Guidelines

10   governing convictions under multiple counts, which provide

11   that . . . the offense level used to calculate the defendant’s

12   sentence [is] . . . the highest offense level of the counts in

13   the Group.”).

14             Because the guideline range applicable to defendant

15   would be the same even if Amendment 782 were in effect at the

16   time he was sentenced, the amendment “does not have the effect of

17   lowering the defendant’s applicable guideline range” and is thus

18   not consistent with § 1B1.10.      See § 1B1.10(a)(2)(B).

19   Accordingly, the court is unable to grant defendant a sentence

20   reduction pursuant to 18 U.S.C. § 3582(c)(2) based upon the
21   passage of Amendment 782.

22             IT IS THEREFORE ORDERED that defendant’s Motion to

23   Reduce Sentence pursuant to 18 U.S.C. § 3582(c)(2) (Docket No.

24   90) be, and the same hereby is, DENIED.

25   Dated:   January 29, 2016

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